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 AO 9l(Rev.l1/11) CriminalComplaint

                                 U NITED STATES D ISTRICT COURT
                                                        forthe
                                             Southern DistrictofFlorida

                  United StatesofAmerica

                      ScottGalimidi,                             -,,,-.
                                                                          Jq.p
                                                                             /J-p/.q
                                                                                   -
                                                                                   ja
                                                                                    's
                                                                                     /szz:
                                                                                         -
                                           C RIM IN A L CO M PLA IN T
         1,the complainantin thiscase,state thatthe following istrue tothebestofmy knowledgeand belief.
Onoraboutthedatets)of 2/15/2019,2/22/2019,and4/11/2019 inthecounty of                         Broward             inthe
  @putherp     Districtof       Florida         ,thedefendantts)violated:
        CodeSection                                               OffenseDescription
21U.S.C.jj841(a)(1)and841(b)           Count1:Possession with the Intentto Distribute 5 grams ormore of
(1)(B)                                 m etham phetam ine
21U.S.C.jj841(a)(1)and841(b)           Counts2-3:Possession with the Intentto Distribute 50 gramsormore of
(1)(A)                                 m etham phetam ine




        Thiscriminalcomplaintisbased on thesefacts:
See attached affidavit.




        V Continuedontheattachedsheet.

                                                                              Complainant'
                                                                                         s '

                                                                      Donald Geiger,DEA Task Force Officer
                                                                               lJl-itl/é!48,7t7/?2t?f?Z7t/tl
                                                                                                           J
                                                                                                           //t?   '-   '--

Swornto before meand signed in my presenee.

Date:          10/24/2019
                                                                                 Judge' st-
                                                                                          gnature
City and state:                                                       Barry S.Seltze , S.Magistrate Judge
                                                                               Printednameand title
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                  A FFIDA VIT IN SU PPO R T O F A C RIM IN A L C O M PLAIN T

         1,Donald Geiger,being firstduly sworn, hereby depose and state as follow s:

                        IN TR O D U CTIO N A N D A G ENT BAC K G RO U ND

                 Iam aTask Force Officerwith the Drug EnforcementAdministration ((ûDEA'')
  currently assigned to the M iam i Field Division.      M y duties and responsibilities include
  investigating the distribution ofillicitdrugsand otherviolations ofTitle21, United States Code
                                                                                                     ,


  Sections 841(a) (possession with the intent to distribute a controlled substance) and 846
 (conspiracyto possesswithintentto distributeacontrolled substance) In thiscapacity,1am an
                                                                       .



 investigativeor1aw enforcem entofficeroftheUnited Stateswithinthem eaning ofTitle l8, United

 StatesCode,Section2510(7),thatis,an officeroftheUnitedStateswho isempoweredbylaw to
 conductinvestigationsofand to m akearrestsforoffensesenum erated in Title 18, U nited States

 Code,Section2516(1). 1havereceivedcomprehensivetrainingininvestigatingviolationsofthe
 Controlled Substances A ct,narcotics, and m oney laundering. A s a result of this training and

 conducting hundreds of narcotic-related investigations, l am know ledgeable in investigations

 concem ing thepossession,m anufacturc,distribution, and im portation ofcontrolled substances,as

 wellasthe meansand methodsin which offenders can use residencesto facilitatetheirnarcotics

 trafficking operation. lhave been a sworn law enforcement officer since June 2008, having

 servedwiththeFol'tLauderdalePoliceDepartment(ICFLPDD')duringthisentiretime          .



        2.      The facts in this A ffidavit com e from m y personalobservations, m y training and

 my experience,and information obtained fiom other law enforcem ent officers, and witnesses

 involved in this investigation.   ThisAffidavitseekingtheissuanceollrrestwanuntjdoesnot
                                                                       A
include all the inform ation know n to m e, but only inform ation sufficientto establish probable
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  cause that between in or around N ovem ber 2018 and continuing through on or about April l1,

  2011, in the Southern District of Florida and elsewhere, Scott Galimidi(ICGALIM IDI'') did

  knowingly and intentionally possess with intent to distribute five (5) grams or more of
  m etham phetam ine, in violation of Title        U nited States Code, Sections 841(a)(1) and

  841(b)(l)(B)(Countl),anddidknowingly andintentionallypossesswithintenttodistributefifty
  (50)gramsormoreofmethamphetamine,in violation ofTitle21,United StatesCode, Sections
  841(a)(1)and 841(b)(1)(A)(Counts2-3).
                                      PR O BA BLE CAU SE

                ln or around N ovem ber 2018, an FLPD D etective learned from an FLPD -

 documented confidential source (;1CS'') that he/she lcnew GALIM IDI was selling
 m etham phetam ine in the Southern D istrid of Florida. Atthe direction ofthe FLPD,the CS

 purchased approxim ately      gram of m etham phetam ine from GA LIM ID I.         D uring this
 transadion, the       told G A LIM ID I that he/she knew of som eone looking to purchase

 methamphetam ine from him . GALIM IDIadvisedtheCS to providehis(GAL1M1D1's)phone

 num berto the potentialbuyer. This concluded the CS involvem entin thiscase.

                On or about February 12, 2019, an FLPD detective working in an undercover

 capaeity ($kUC'')madeeontad with GALIM IDIviatextmessagelookingto meetandpurchase
 m etham phetam ine. The U C and G A LIM IDI agreed to m eet at the Best Buy, located at 1901

 N orth FederalHighw ay Fort Lauderdale,Florida, which is in the Southelm D istrict of Florida.

 Prior to the m eeting,the UC was equipped with an audio and video recording device. A t

 approxim ately 3:19 p.m .,GA LIM ID Isenta textm essage to the U C , advising the U C thathe was

 inside the BestBuy. Atapproxim ately 3:2 1p.m .,the U C and G A LIM ID Im et in the parking lot


                                               2
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  ofthe BestBuy. Duringthemeeting,GALIM IDIstatedthathewouldsellone(l)ounceofcrystal

  methamphetamine forseven hundred fifty dollars($750.00). The U C agreed to purchase the
  crystalmethamphetam ineatthatpricewith thetransaction to occuron Friday, February l5,2019.

         5.     O n or about February 15,2019, at approxim ately 11:28 a.m .,the U C senta text

  m essage to G ALIM ID Ito confinu thatthey w ere to m eetthatafternoon in orderto conductthe

  saleofone(1)ounce ofcrystalmethamphetamine. Priorto themeeting,the UC wasequipped
 with an audioand videorecording device, andprovidedwithsevenhundredfiflydollars($750.
                                                                                     00)
 ofOfficialAdvanced Funds(OAF)from FLPD. Atapproximately3:00p m .,surveillanceunits
                                                                           .



 observed GA LIM ID I entering the Best Buy parking lot, located at 1901 N orth FederalHighw ay

 FortLauderdale,Florida,whiledriving ablueChevroletlmpala (Florida tag IJTF97) The UC .



 made telephonic contact with GALIM IDI and instructed him                     to come to the

 UC vehicle. G A LIM IDIsubsequently entered the frontpassengerseatofthe U C'svehicle. O nce

 inside thevehicle,GALIM IDIhanded a blue BestBuy shopping bag to the UC . Upon looking

 inside the bag,the U C observed a box for a rem ote control. GALIM IDIadvised theUC to open

 the box to retrieve the m etham phetam ine. The       opened the box and observed three large

 crystal-likepiecesofsuspectedm ethamphetamine. TheUC tookpossession oftheone(1)ounce

 ofcrystalmethamphetamine and handed the $750 OAF to GALIM IDI G A LIM ID Ithen exited
                                                                       .



 the U C vehicle,entered his ow n vehicle, and leftthe area.Laboratory analysisdetenuined thatthe

 am ountof pure m etham phetam ine purchased from GA LIM ID I on this date w as approxim ately

 27.7 gram s+ 1.1 gram sw ith apurity rate of 97% + 4% .

        6.     On or aboutFebruary 22,2019,at approxim ately 2:00 p.m .,the U C arrived atthe

 7-11 convenience store,located at951 E . CypressCreek Road,Fol4 Lauderdale, Florida,w hich is
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  located intheSouthern DistrictofFlorida. Priortoarriving, the U C wasequipped w ith audio and

  videorecordingdevices,andprovidedwithtwothousand six hundreddollars($2600.00)ofDEA
  OAF. Approximately fifteen (15)minutes later,law enforcementobserved a blue Chevrolet
  lm pala bearing Florida tag 1TJF97 aniving at the location. The driver and sole occupant w as

  GA LIM ID I. GA LIM ID Iparked the vehicle in a parking spot and m otioned the U C to com e to

 his vehicle. The UC subsequently exited his/her vehicle and entered GALIM IDI'S vehicle

 through the frontpassenger seat. Once the U C w as inside the vehicle, GALIM IDImotioned the

 UC to a box loeated on the center console ofthe vehicle. The U C opened the box and observed

 large crystal-like substanee suspeeted to be four(4)ouncesoferystalmethamphetamine ln     .



 exchange,the UC gave $2600.00 to GALIM IDI and instructed GALIM IDIto countit A fter  .



 confirmingtheamountwas$2600.00,GALIM IDIgavethefour(4)ouncesofsuspeded crystal
 m etham phetam ine to the U C before they departed. Laboratory analysis determined that the

 am ount of pure m etham phetam ine purchased tkom GA LIM ID I on this date w as approxim ately

 109.8 gram s:h4.1 gram s w ith apurity rate of97% + 4% .

               On oraboutApril11,2019,the UC and GALM IDIagreed to m eetatthe Hom e

 Depot, located at 1701 W . O akland Park Boulevard, O akland Park, Florida, for a controlled

 purchase ofapproximately four(4)ouncesofcrystalmethamphetamine for two thousand six
 hundred dollars($2600.00). The Home Depotislocated in the Southern DistrictofFlorida          .



 Priorto arriving,the UC wasequipped with audio and visualequipm ent, and provided with tw o

 thousand six hundred dollars($2,600.00) in OAF. Atapproximately 8:42 p.m ., GA LIM IDI
 arrived at the H om e Depot parking lot driving a black A udi, bearing Florida tag

 LGLG 97. G A LIM ID Iexited the driver seatand retrieved a dark colored baekpack from the back
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  seatoftheAudi. Aroundthesametime,an unknown male($tUM '')exitedthepassengerseatof
  GA LIM ID I'Svehicle. Both G ALIM ID Iand the U M entered the H om e D epot. A tapproxim ately

  8:57p.m.,the UC arrived attheHom eDepotand telephonically advised GALIM ID Ithathe/she

  had arrived. Shortly thereafter,G ALIM ID Iexited the w estentrance ofH om e D epotcarrying the

  dark colored backpack and entered the frontpassenger seatofthe U C'svehicle. Once inside the

 vehicle,GA LIM IDI opened the backpack and retrieved a crystal-like substance suspected to be

 crystalm etham phetamine and handed itto theUC . ln exchange,the UC took possession ofthe

 crystalmethamphetam ine and handed the $2,600 OAF to GALIM IDI G A LIM IDI counted and
                                                                      .



 verified that the am ount w as correct. At approxim ately 9:02 p.m .,G A LIM ID I exited the U C

 vehicle and metup with the UM . Both GALIM IDIand theUM lefttheparking lotin theblack

 Audi. Laboratory analysisdeterm ined thatthe am ountofpurem etham phetam inepurchased from

 GA LIM ID Ion thisdate w as 108.29 gram s+ 4.1% gram s w ith a purity rate of96% :1:4% .




                              gINTENTIONALLY LEFT BLANK)
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         8.     Based on m y training and experience,and as furthersupported by the facts in this

  affidavit, I respectfully subm it that probable cause exists that on or about February 15, 2019,

  February 22,2019 and A pril 1l,2019,ScottG A LIM ID Iknow ingly and intentionally possessed

  withintentto distributeacontrolled substance,in violationofTitle21,United StatesCode,Section

  841(a)(1). PursuanttoTitle21,United StatesCode,Section 841(b)(1)(B),itisfurtheralleged
  that,forCount1,theviolationinvolved five(5)gramsormoreofmethamphetamine,aSchedule
  11controlled substance. Pursuantto Title 21,United StatesCode,Section 841(b)(1)(A),itis
  further alleged that, for Counts 2-3, the violation involved tifty (50) grams or more of
  m etham phetam ine,a Schedule 11controlled substance.

  FUR TH ER AFFIA N T SAY ETH NA U G H T

                                               j       --
                                                nald Gei er Task Force Oftice
                                             U nited States Drug Enforcem entA dm inistration

  Subscribedunda rntobefore
  m ethisthe (A U'-I ay ofOctober,2019.


  HON O RA E BA         Y S.SELT R
  UN ITED STA          A GISTRAT JUD G E




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